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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

BAYER INTELLECTUAL PROPERTY          )
GMBH, BAYER PHARMA AG, and           )
JANSSEN PHARMACEUTICALS, INC.,       )
                                     )
                 Plaintiffs,         )
                                     )
            v.                       ) C.A. No. 15-902 (LS)
                                     ) CONSOLIDATED
AUROBINDO PHARMA LIMITED,            )
AUROBINDO PHARMA USA, INC.,          )
BRECKENRIDGE PHARMACEUTICAL,         )
INC., INVAGEN PHARMACEUTICALS, INC., )
MICRO LABS LTD., MICRO LABS USA      )
INC., MYLAN PHARMACEUTICALS INC.,    )
PRINSTON PHARMACEUTICAL INC.,        )
SIGMAPHARM LABORATORIES, LLC,        )
TORRENT PHARMACEUTICALS, LIMITED, )
and TORRENT PHARMA INC.              )

                      Defendants.                   )

                      JOINT MOTION FOR ENTRY OF JUDGMENT

       Plaintiffs Bayer Intellectual Property GmbH, Bayer Pharma AG, and Janssen

Pharmaceuticals, Inc. (collectively, “Plaintiffs”) and Defendant Breckenridge Pharmaceutical,

Inc. (“Breckenridge”) jointly move for entry of final judgment in this action, according to the

terms and for the reasons set forth below:

       1.      In this consolidated action for patent infringement, Plaintiffs have alleged that the

filing by Breckenridge of Abbreviated New Drug Application (“ANDA”) 208220 seeking

approval to market generic versions of Plaintiffs’ anticoagulant XARELTO® infringed U.S.

Patent No. 7,157,456 (“the ’456 patent”).

       2.      On April 24, 2017, Plaintiffs and Breckenridge jointly stipulated and agreed to

stay this action as between Plaintiffs and Breckenridge, and for an order that Breckenridge be
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bound by any final judgment, including any injunction, rendered in this consolidated action as to

any other Defendant or Defendants after actual litigation on the merits. See D.I. 219. The Court

approved the stipulation in an order issued the same day. See D.I. 222.

       3.      This Court entered final judgment in favor of Plaintiffs against Defendants Mylan

Pharmaceuticals Inc. and Sigmapharm Laboratories, LLC on July 13, 2018, following a four day

bench trial. See D.I. 318.

       Accordingly, for the foregoing reasons, and consistent with the parties’ joint Stipulation,

Plaintiffs and Breckenridge jointly request entry of final judgment in favor of Plaintiffs and

against Breckenridge in the form reflected in the attached proposed order. Breckenridge and

Plaintiffs retain the right to file an appeal from the final judgment by the District Court in the

Action and to challenge on appeal its merits.



                                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                    /s/ Derek J. Fahnestock

                                                    Jack B. Blumenfeld (#1014)
OF COUNSEL:                                         Rodger D. Smith II (#3778)
                                                    Derek J. Fahnestock (#4705)
Bruce R. Genderson                                  1201 North Market Street
Adam L. Perlman                                     P.O. Box 1347
Dov P. Grossman                                     Wilmington, DE 19899
Steven M. Pyser                                     (302) 658-9200
Alexander S. Zolan                                  jblumenfeld@mnat.com
Martha C. Kidd                                      rsmith@mnat.com
Kathryn S. Kayali                                   dfahnestock@mnat.com
WILLIAMS & CONNOLLY LLP
725 Twelfth Street NW                               Attorneys for Plaintiffs Bayer Intellectual
Washington, DC 20005                                Property GmbH, Bayer Pharma AG, and
(202) 434-5000                                      Janssen Pharmaceuticals, Inc.

Attorneys for Plaintiffs Bayer Intellectual
Property GmbH and Bayer Pharma AG




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David T. Pritikin
SIDLEY AUSTIN LLP
One South Dearborn
Chicago, IL 60603
(312) 853-7000

Bindu Donovan
S. Isaac Olson
Todd L. Krause
SIDLEY AUSTIN LLP
787 Seventh Avenue
New York, NY 10019
(212) 839-5300

Attorneys for Plaintiff Janssen
Pharmaceuticals, Inc.

September 5, 2018




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

BAYER INTELLECTUAL PROPERTY          )
GMBH, BAYER PHARMA AG, and           )
JANSSEN PHARMACEUTICALS, INC.,       )
                                     )
                 Plaintiffs,         )
                                     )
            v.                       ) C.A. No. 15-902 (LS)
                                     ) CONSOLIDATED
AUROBINDO PHARMA LIMITED,            )
AUROBINDO PHARMA USA, INC.,          )
BRECKENRIDGE PHARMACEUTICAL,         )
INC., INVAGEN PHARMACEUTICALS, INC., )
MICRO LABS LTD., MICRO LABS USA      )
INC., MYLAN PHARMACEUTICALS INC.,    )
PRINSTON PHARMACEUTICAL INC.,        )
SIGMAPHARM LABORATORIES, LLC,        )
TORRENT PHARMACEUTICALS, LIMITED, )
and TORRENT PHARMA INC.              )

                      Defendants.                   )

                      PROPOSED ORDER AND FINAL JUDGMENT

        Upon the Joint Motion of Plaintiffs Bayer Intellectual Property GmbH, Bayer Pharma

AG, and Janssen Pharmaceuticals, Inc. (collectively, “Plaintiffs”), and Breckenridge

Pharmaceutical, Inc. (“Breckenridge”) for Entry of Final Judgment, IT IS HEREBY ORDERED

that:

        1.     The stay of this action as between Plaintiffs and Breckenridge is LIFTED.

        2.     The drug product that is the subject of Breckenridge’s Abbreviated New Drug

Application (“ANDA”) No. 208220 (including any amendments or supplements thereto)

infringes claim 16 of U.S. Patent No. 7,157,456 (“the ’456 patent”).

        3.     Claim 16 of the ’456 patent is not invalid due to obviousness.
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       4.        Pursuant to 35 U.S.C. § 271(e)(4)(A), the effective date of any Food and Drug

Administration approval of Breckenridge’s ANDA No. 208220 shall be a date not earlier than

the expiration of the ʼ456 patent (August 28, 2024), as well as any applicable extensions and

exclusivities.

       5.        Final judgment is hereby entered:

                 a.    In favor of Plaintiffs Bayer Intellectual Property GmbH, Bayer Pharma

                       AG, and Janssen Pharmaceuticals, Inc. (“Plaintiffs”) and against

                       Breckenridge on Plaintiffs’ claim of infringement of claim 16 of the ’456

                       patent; and

                 b.    In favor of Plaintiffs and against Breckenridge on Breckenridge’s

                       counterclaim seeking a declaratory judgment of invalidity with respect to

                       the ’456 patent.

       6.        Breckenridge and Plaintiffs retain the right to file an appeal from the final

judgment by the District Court in the Action and to challenge on appeal its merits.




                                                     U.S.D.J.




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                                  CERTIFICATE OF SERVICE

                I hereby certify that on September 5, 2018, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

September 5, 2018, upon the following in the manner indicated:

John C. Phillips, Jr., Esquire                                          VIA ELECTRONIC MAIL
Megan C. Haney, Esquire
PHILLIPS, GOLDMAN, MCLAUGHLIN
  & HALL, P.A.
1200 North Broom Street
Wilmington, DE 19806
Attorneys for Defendant Breckenridge
Pharmaceutical Inc.

Matthew L. Fedowitz, Esquire                                            VIA ELECTRONIC MAIL
B. Jefferson Boggs, Jr., Esquire
MERCHANT & GOULD
1701 Duke Street, Suite 310
Alexandria, VA 22314
Attorneys for Defendant Breckenridge
Pharmaceutical Inc.

Christopher J. Sorenson, Esquire                                        VIA ELECTRONIC MAIL
MERCHANT & GOULD
3200 IDS Center
80 South Eighth Street
Minneapolis, MN 55402
Attorneys for Defendant Breckenridge
Pharmaceutical Inc.

Robert Vroom, Esquire                                                   VIA ELECTRONIC MAIL
Bruce D. DeRenzi, Esquire
BRECKENRIDGE PHARMACEUTICAL INC.
60 East 42nd Street, Suite 5210
New York, NY 10165
Attorneys for Defendant Breckenridge
Pharmaceutical Inc.


                                              /s/ Derek J. Fahnestock
                                              ______________________________________
                                              Derek J. Fahnestock (#4705)
